CaSe 2:18-CV-15100-CCC-.]BC Document 1 Filed 10/18/18 Page 1 of 21 Page|D: 1

Ben A. Kaplan

CHULSKY KAPLAN LLC
280 Prospect Ave. 6G
Hackensack, NJ 07601

Phone: (877) 827-3395 ex 102
Cell Phone: (201) 803-6611
Fax: (877) 827-3394
ben@chulskykaplanlaw.com
Attorneys for Plaintiff(s)

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

TERESA SOLIS F/K/A CONCEPCION, on Civil Case Number:
behalf of herself and all others similarly situated,
Plaintiff(s), CIVIL ACTION
CLASS ACTION COMPLAINT
-against- AND
DEMAND FOR JURY TRIAL

WEBCOLLEX, LLC D/B/A CKS FINANCIAL;
OLIPHANT FINANCIAL, LLC and JOHN
DOES l-25,

 

Defendant(s).

 

LOCAL CIVIL RULE 10.1 STATEMENT
l. The mailing addresses of the parties to this action are:

TERESA SOLIS F/K/A CONCEPCION
61 Wallace Street
Belleville, NJ 07109

WEBCOLLEX, LLC D/B/A CKS Fl"NANCIAL
505 Independence Parkway

Suite 300

Chesapeake, Virginia 23320

OLIPHANT FINANCIAL, LLC
1800 Z“d Street

Suite 603

Sarasota, Florida 34236

Page l of 19

CaSe 2:18-cV-15100-CCC-.]BC Document 1 Filed 10/18/18 Page 2 of 21 Page|D: 2

PRELIMINARY STATEMENT

2. Plaintiff on behalf of herself and all others similarly situated (“Plaintift”), by and
through her attorneys, alleges that Defendants, WEBCOLLEX, LLC D/B/A CKS FINANCIAL
(“CKS FINANCIAL”); OLIPHANT FINANCIAL, LLC (“OLIPHANT FINANCIAL”) and
JOHN DOES 1-25 their employees, agents and Successors (collectively “Defendants”) violated 15
U.S.C. § 1692 et seq., the Fair Debt Collection Practices Act (hereinafter “FDCPA”), which
prohibits debt collectors from engaging in abusive, deceptive and unfair practices.

JURISDICTION AND VENUE

3. The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331. This is
an action for violations of 15 U.S.C. § 1692 et seq.

4. Venue is proper in this district under 28 U.S.C. §1391(b) and 15 U.S.C. § 1692k(d)
because the acts of the Defendant that give rise to this action, occurred in substantial part, in this
district.

DEFINITIONS

5. As used in this complaint, the terms “creditor,” “consumer,” “debt” and “debt

collector” are defined at 15 U.S.C. § 1692a.
PARTIES

6. Plaintiff is a natural person, a resident of Essex County, New Jersey and is a
“Consumer” as defined by 15 U.S.C. § l692a(3).

7. CKS FINANCIAL maintains a location at 505 lndependence Parkway, Suite 300,
Chesapeake, Virginia 23 320.

8. OLIPHANT FlNANClAL maintains a location at 1800 2rld Street, Suite 603,

Sarasota, Florida 34236.

Page 2 of 19

CaSe 2:18-cV-15100-CCC-.]BC Document 1 Filed 10/18/18 Page 3 of 21 Page|D: 3

9. CKS FINANCIAL uses the instrumentalities of interstate commerce or the mails to
engage in the principal business of collecting debt and/or to regularly engage in the collection or
attempt to collect debt asserted to be due or owed to another.

10. OLIPHANT FINANCIAL uses the instrumentalities of interstate commerce or the
mails to engage in the principal business of collecting debt and/or to regularly engage in the
collection or attempt to collect debt asserted to be due or owed to another.

11. CKS FINANCIAL is a “Debt Collector” as that term is defined by 15 U.S.C. §
1692(a)(6).

12. OLIPHANT FINANCIAL is a “Debt Collector” as that term is defined by 15
U.S.C. § 1692(a)(6).

13. John Does 1-25, are currently unknown Defendants whose identities will be
obtained in discovery and at that time will be made parties to this action pursuant to the Federal
Rules of Civil Procedure (hereinafter “FRCP”); Rule 15, Rule 20 and Rule 21. Plaintiff’s claims
against the currently unknown Defendants arise out of the same transaction, occurrence or series
of transactions arising from known Defendant’s actions and are due to common questions of law
and fact whose joinder will promote litigation and judicial efficiency.

CLASS ACTION ALLEGATIONS

14. Plaintiff brings this action as a state-wide class action, pursuant to Rule 23 of the
FRCP, on behalf of herself and all New Jersey consumers and their Successors in interest (the
“Class”), who were sent debt collection letters and/or notices from the Defendant, in violation of

the FDCPA, as described in this Complaint.

Page 3 of 19

CaSe 2:18-cV-15100-CCC-.]BC Document 1 Filed 10/18/18 Page 4 of 21 Page|D: 4

381

15. This Action is properly maintained as a class action. The Class is initially defined

All New Jersey consumers who were sent letters and/or notices from CKS

FINANCIAL concerning a debt owned by OLIPHANT FINANCIAL, which

originated with MID AMERICA BANK AND TRUST ~ VERVE and which

included the alleged conduct and practices described herein.

The class definition may be subsequently modified or refined. The Class period

begins one year prior to the filing of this Action.

16. The Class satisfies all the requirements of Rule 23 of the FRCP for maintaining a
class action1

a. Numerosity: The Class is so numerous that joinder of all members is
impracticable because there are hundreds and/or thousands of persons who
were sent debt collection letters and/or notices from the Defendant(S) that
violate specific provisions of the FDCPA. Plaintiff is complaining about a
standard form letter and/or notice that was sent to at least fifty (50) persons
(See Exhibit A). The undersigned has, in accordance with FRCP Rule 5.2,
redacted the financial account numbers and/or personal identifiers in said
letter.

b. Commonality: There are questions of law and fact common to the class
members which predominate over questions affecting any individual Class
member. These common questions of law and fact include, without

limitation:

Page 4 of 19

CaSe 2:18-cV-15100-CCC-.]BC Document 1 Filed 10/18/18 Page 5 of 21 Page|D: 5

i. Whether the Defendants violated various provisions of the FDCPA
as set forth herein:

ii. Whether Plaintiff and the Class have been injured by the
Defendants' conduct;

iii. Whether Plaintiff and the Class have sustained damages and are
entitled to restitution as a result of Defendants’ wrongdoing and if
so, what is the proper measure and appropriate statutory formula to
be applied in determining such damages and restitution; and

iv. Whether Plaintiff and the Class are entitled to declaratory relief.

c. Typicality: Plaintiff s claims are typical of the Class, which all arise from
the same operative facts and are based on the same legal theories

d. Adequacv of Representation: Plaintiff has no interest adverse or
antagonistic to the interest of the other members of the Class. Plaintiff will
fairly and adequately protect the interest of the Class and has retained
experienced and competent attorneys to represent the Class.

17. A Class Action is superior to other methods for the fair and efficient adjudication
of the claims herein asserted. Plaintiff anticipates no unusual difficulties in the management of this
class action.

18. A Class Action will permit large numbers of similarly Situated persons to prosecute
their common claims in a single forum simultaneously and without the duplication of effort and
expense that numerous individual actions would engender. Class treatment will also permit the

adjudication of relatively small claims by many Class members who could not otherwise afford to

Page 5 of 19

CaSe 2:18-cV-15100-CCC-.]BC Document 1 Filed 10/18/18 Page 6 of 21 Page|D: 6

seek legal redress for the wrongs complained of herein. Absent a Class Action, class members
will continue to suffer losses of statutory protected rights as well as damages.

19. Defendant(s) have acted on grounds generally applicable to the entire Class,
thereby making appropriate final relief with respect to the Class as a whole.

STATEMENT OF FACTS

20. Plaintiff is at all times to this lawsuit, a "consumer" as that term is defined by 15
U.S.C. § 1692a(3).

21. At some time prior to February 2, 2018, Plaintiff allegedly incurred a financial
obligation to MID AMERICA BANK AND TRUST - VERVE ACCOUNT (“MID AMERICA”).

22. The MlD AMERICA obligation is an open end loan as defined at N.J.S.A. 17:11C-
2 and/or retail charge account as defined at N.J.S.A. l7:16C-1 et seq.

23. The MID AMERICA obligation arose out of a transaction, in which money,
property, insurance or services, which are the subject of the transaction, are primarily for personal,
family or household purposes.

24. Plaintiff incurred the MID AMERICA obligation by obtaining goods and services
which were primarily for personal, family and household purposes.

25. The MID AMERICA obligation did not arise out of a transaction that was for non-
personal use.

26. The l\/IID AMERICA obligation did not arise out of a transaction that was for
business use.

27. The MID AMERICA obligation is a "debt" as defined by 15 U.S.C. § 1692a(5).

28. MID AMERICA is a "creditor" as defined by 15 U.S.C. § 1692a(4).

Page 6 of 19

CaSe 2:18-cV-15100-CCC-.]BC Document 1 Filed 10/18/18 Page 7 of 21 Page|D: 7

29. At some time prior to February 6, 2018, the MID AMERICA obligation was
purchased by and/or sold to OLIPHANT FINANCIAL.

30. At the time the MID AMERICA obligation was purchased by and/or sold to
OLIPHANT FINANCIAL, the obligation was in default.

31 . The principal purpose of OLIPHANT FINANCIAL is the collection of debts which
are in default at the time it purchases the debts.

32. OLIPHANT FINANCIAL has obtained a license and/or has registered as a
collection agency and/or as a debt collector with at least one State and/or State department or
agency within the United States within the relevant period.

33. OLIPHANT FINANCIAL did not obtain a license from the New Jersey Department
of Banking and Insurance prior to purchasing the obligation as required by law. See Veras v.
LVNVFunding, LLC, 2014 U.S. Dist. LEXIS 34176 (D.N.J. Mar. 17, 2014); Lopez v. Law O]j‘ices
of Falom` & Associates, 2016 U.S. Dist. LEXIS 124730 (D.N.J. Sept. 14, 2016); Latterz` v. Mayer,
2018 U.S. Dist. LEXIS 85926 (D.N.J. May 22, 2018); and New Century Fin. v. Trewin, 2018 N.J.
Super. Unpub. LEXIS 1688 (May 24, 2018).

34. On or before February 2, 2018, OLIPHANT FINANCIAL referred the MID
AMERICA obligation to CKS FINANCIAL for the purpose of collections.

35. CKS FINANCIAL has obtained a license and/or has registered as a collection
agency and/or as a debt collector with at least one State and/or State department or agency within
the United States within the relevant period.

36. At the time the MID AMERICA obligation was referred to CKS FINANCIAL the

MID AMERICA obligation was past due.

Page 7 of 19

Case 2:18-cV-15100-CCC-.]BC Document 1 Filed 10/18/18 Page 8 of 21 Page|D: 8

37. At the time the MID AMERICA obligation was referred to CKS FINANCIAL the
MID AMERICA obligation was in default pursuant to the terms of the agreement creating the
obligation and/or by operation of law.

38. Defendants caused to be delivered to Plaintiff a letter dated February 2, 2018, which
was addressed to Plaintiff. A copy of said letter is annexed hereto as Exhibit A, which is fully
incorporated herein by reference

39. OLIPHANT FINANCIAL did not obtain a license from the New Jersey Department
of Banking and Insurance prior to authorizing and/or causing CKS FINANCIAL to send its
February 2, 2018 letter as required by law. See Veras v. LVNV Funa'ing, LLC, 2014 U.S. Dist.
LEXIS 34176 (D.N.J. Mar. 17, 2014); Lopez v. Law ijices ofFaloni & Associates, 2016 U.S.
Dist. LEXIS 124730 (D.N.J. Sept. 14, 2016); Latteri v. Mayer, 2018 U.S. Dist. LEXIS 85926; and
New Century Fin. v. Trewin, 2018 N.J. Super. Unpub. LEXIS 1688.

40. The February 2, 2018 letter was sent to Plaintiff in connection with the collection
of the MID AMERICA obligation.

41. The February 2, 2018 letter is a “communication” as defined by 15 U.S.C. §
1692a(2).

42. The February 2, 2018 letter is the initial written communication sent from
Defendant to the Plaintiff.

43. Upon receipt, Plaintiff read the February 2, 2018 letter.

44. The February 2, 2018 letter provides the following information regarding the
balance claimed due on the MID AMERICA obligation:

Account Balance: $1,003.28

Page 8 of 19

Case 2:18-cV-15100-CCC-.]BC Document 1 Filed 10/18/18 Page 9 of 21 Page|D: 9

45. The February 2, 2018 letter did not itemize or breakdown the amount of the debt
by principal, interest, fees and other charges.

46. The outstanding balance claimed to be due by Defendants on the MID AMERICA
obligation as of February 2, 2018 included an amount for interest, fees and/or other charges.

47. The February 2, 2018 letter did not inform Plaintiff that the amount of the debt
included an amount for interest.

48. The February 2, 2018 letter did not inform Plaintiff that the amount of the debt
included an amount for costs and/or fees.

49. OLIPHANT FINANCIAL is a consumer lender as defined at N.J.S.A. 17:11C-2 et
seq.

50. OLIPHANT FINANCIAL is in the business of buying, discounting or endorsing
notes, or of furnishing, or procuring guarantee or security for compensation in amount of $50,000
or less.

51. OLlPHANT FINANCIAL is a sales finance company as defined at N.J.S.A.
17:11C-2 and N.J.S.A. 17:16C-1 et seq.

52. The obligation is an open end loan as defined at N.J.S.A. 17:11C-2 and/or retail
charge account as defined at N.J.S.A. 17:16C-1 et seq.

53. Alternatively, the obligation is a consumer loan as defined at N.J.S.A. 17:1 1C-2.

54. OLIPHANT FINANCIAL engages in the consumer loan business as defined at
N.J.S.A. 17:11C-2.

55. OLIPHANT FfNANCIAL engages in the business of purchasing defaulted

consumer notes, defaulted consumer loans and/or defaulted retail charge accounts.

Page 9 of 19

Case 2:18-cV-15100-CCC-.]BC Document 1 Filed 10/18/18 Page 10 of 21 Page|D: 10

56. At all times relevant to this matter, CKS FINANCIAL did not obtain a license as a
consumer lender or a sales finance company issued by the New Jersey Department of Banking and
lnsurance.

57. At all times relevant to this matter, CKS FINANCIAL did not obtain a license under
authority of the New Jersey Consumer Finance Licensing Act.

58. At all times relevant to this matter, CKS FINANCIAL did not obtain a license
issued by the New Jersey Department of Banking and lnsurance.

59. At all times relevant to this matter, CKS FINANCIAL did not obtain a license under
authority of the New Jersey Consumer Finance Licensing Act authorizing it to make consumer
loans, or to buy, discount or endorse notes (loans), or to receive interest.

60. At all times relevant to this matter, OLIPHANT FINANCIAL did not obtain a
license under authority of the New Jersey Consumer Finance Licensing Act.

61. At all times relevant to this matter, OLIPHANT FINANCIAL did not obtain a
license issued by the New Jersey Department of Banking and lnsurance.

62. At all times relevant to this matter, OLIPHANT FINANCIAL did not obtain a
license under authority of the New Jersey Consumer Finance Licensing Act authorizing it to make
consumer loans, or to buy, discount or endorse notes (loans), or to receive interest.

63. At no time was CKS FINANCIAL authorized to charge or add interest to Plaintiffs
account.

64. At no time was CKS FINANCIAL authorized to collect interest on Plaintiffs
account.

65. At no time was CKS FINANCIAL authorized to collect on Plaintiff‘s account.

Page 10 of 19

Case 2:18-cV-15100-CCC-.]BC Document 1 Filed 10/18/18 Page 11 of 21 Page|D: 11

66. At no time was OLIPHANT FINANCIAL authorized to charge or add interest to
Plaintiffs account.

67. At no time was OLIPHANT FINANCIAL authorized to collect interest on
Plaintiffs account.

68. At no time was OLIPHANT FINANCIAL authorized to collect on Plaintiffs
account.

69. As CKS FINANCIAL did not obtain the appropriate license under the New Jersey
Consumer Finance Licensing Act during the time relevant to this matter, it was prohibited from
attempting to collect on the MID AMERICA obligation.

70. As CKS FINANCIAL did not obtain the appropriate license issued by the New
Jersey Department of Banking and lnsurance during the time relevant to this matter, it was
prohibited from attempting to collect on the MID AMERICA obligation.

71. As OLIPHANT FINANCIAL did not obtain the appropriate license under the New
Jersey Consumer Finance Licensing Act during the time relevant to this matter, it was prohibited
from attempting to collect on the MID AMERICA obligation.

72. As OLIPHANT FINANCIAL did not obtain the appropriate license issued by the
New Jersey Department of Banking and lnsurance at all relevant to this matter, it was prohibited
from attempting to collect on the MID AMERICA obligation.

73. As GLIPHANT FINANCIAL did not obtain the appropriate license under the New
Jersey Consumer Finance Licensing Act at all times relevant to this matter, CKS FINANCIAL

was prohibited from attempting to collect on the MID Al\/IERICA obligation.

Page 11 of 19

Case 2:18-cV-15100-CCC-.]BC Document 1 Filed 10/18/18 Page 12 of 21 Page|D: 12

74. As OLIPHANT FINANCIAL did not obtain the appropriate license issued by the
New Jersey Department of Banking and lnsurance at all times relevant to this matter, CKS
FINANCIAL Was prohibited from attempting to collect on the MID AMERICA obligation.

75. CKS FINANCIAL knew or should have known that its actions violated the
FDCPA.

76. OLIPHANT FINANCIAL knew or should have known that its actions violated the
FDCPA.

77. Defendants could have taken the steps necessary to bring their actions within
compliance with the FDCPA, but neglected to do so and failed to adequately review its actions to
ensure compliance with the law.

POLICIES AND PRACTICES COMPLAINED OF

78. lt is Defendants' policy and practice to send written collection communications, in

the form annexed hereto as Exhibit A, which violate the FDCPA, by inter alia:

(a) Using false, deceptive or misleading representations or means in connection
with the collection of a debt; and

(b) Threatening to take any action that cannot legally be taken or that is not
intended to be taken;

(c) Using unfair or unconscionable means to collect or attempt to collect any
debt; and

(d) Making a false representation of the character or amount of the debt.
79. Defendants have sent written communications in the form annexed hereto as
Exhibit A, to at least 50 natural persons in the state of New Jersey within one year of this

Complaint.

Page 12 of 19

Case 2:18-cV-15100-CCC-.]BC Document 1 Filed 10/18/18 Page 13 of 21 Page|D: 13

COUNT I

FAIR DEBT COLLECTlON PRACTICES ACT, 15 U.S.C. §
1692 et seq. VIOLATIONS

80. Plaintiff, on behalf of herself and others similarly situated, repeats and realleges all
prior allegations as if set forth at length herein.

81. Collection letters and/or notices, such as those sent by Defendants, are to be
evaluated by the objective standard of the hypothetical “least sophisticated consumer.”

82. The form, layout and content of Defendant’s letter would cause the least
sophisticated consumer to be confused about her or her rights.

83. The form, layout and content of Defendant’s letter would mislead the least
sophisticated consumer to believe that Defendants could legally attempt to collect the debt.

84. The form, layout and content of Defendant’s letter would cause the least
sophisticated consumer to be confused as to whether the balance could and/or would increase.

85. The form, layout and content of Defendant’s letter would cause the least
sophisticated consumer to be confused as to whether the balance included an amount for interest.

86. The form, layout and content of Defendant’s letter would cause the least
sophisticated consumer to be confused as to whether the balance included an amount for costs and/or
fees.

87. The form, layout and content of Defendant’s letter would cause the least
sophisticated consumer to believe that Defendants had the legal ability to attempt to collect the debt
and that Defendants had acquired the appropriate licenses or had otherwise complied with New Jersey

regulations

Page 13 of 19

Case 2:18-cV-15100-CCC-.]BC Document 1 Filed 10/18/18 Page 14 of 21 Page|D: 14

88. A violation of New Jersey laws, despite no private cause of action, can form the basis
of a violation of the FDCPA. See Chulsky v. Hudson Law O]j‘z`ces, P.C., 777 l"'“.Supp.Zd 823 (_D.N..l.
201 1).

89. Defendants’ attempt to collect the alleged debt without first obtaining the license(s)
necessary under New Jersey law violated various provisions of the FDCPA including but not
limited to: 15 U.S.C. § l692e; § 1692e(2)(A); § 1692e(5); § l692e(10); and § 1692f et seq.

90. Defendants violated 15 U.S.C. § 1692e of the FDCPA by using any false, deceptive
or misleading representation or means in connection with their attempts to collect debts from
Plaintiff and others similarly situated.

91. Defendants violated 15 U.S.C. § 1692e of the FDCPA in connection with their
communications to Plaintiff and others similarly situated.

92. Defendants violated 15 U.S.C. § 1692e of the FDCPA by falsely implying that they
had the right or legal authority to collect debts from Plaintiff and others similarly situated.

93. Defendants violated 15 U.S.C. § 1692e of the FDCPA by not disclosing that the
amount allegedly due on the MID AMERICA obligation included an amount for interest and an
amount for costs and/or fees.

94. 15 U.S.C. § 1692e(2)(A) of the FDCPA prohibits a debt collector from making a
false representation of the character, amount or legal status of a debt.

95. Defendants violated 15 U.S.C. § 1692e(2)(A) by including an amount for interest
in the balance stated in the February 2, 2018 letter.

96. Defendants violated 15 U.S.C. § 1692e(2)(A) by including an amount for costs

and/or fees in the balance stated in the February 2, 2018 letter.

Page 14 of 19

Case 2:18-cV-15100-CCC-.]BC Document 1 Filed 10/18/18 Page 15 of 21 Page|D: 15

97. Defendants violated 15 U.S.C. § 1692e(2)(A) by making false representations of
the character, amount or legal status of a debt.

98. Defendants violated 15 U.S.C. § 1692e(2)(A) as Defendants were prohibited from
charging or collecting interest under the New Jersey Consumer Finance Licensing Act.

99. Defendants violated 15 U.S.C. § 1692e(2)(A) as Defendants were prohibited from
collecting on the MID AMERICA obligation because they failed to comply with the New Jersey
Consumer Finance Licensing Act.

100. 15 U.S.C. § 1692e(5) of the FDCPA prohibits a debt collector from threatening to
take any action that cannot legally be taken or that is not intended to be taken.

101. Defendants violated 15 U.S.C. § 1692e(5) by attempting to collect the alleged debt
without first obtaining the license(s) necessary under New Jersey law.

102. 15 U.S.C. § 1692e(10) prohibits the use of any false representation or deceptive
means to collect or attempt to collect any debt.

103. Defendants violated 15 U.S.C. § 1692e(10) by attempting to collect the alleged debt
without first obtaining the license(s) necessary under New Jersey law.

104. 15 U.S.C. § 1692f et seq. of the FDCPA prohibits a debt collector from using unfair
or unconscionable means to collect or attempt to collect any debt.

105. Defendants violated 15 U.S.C. § 1692f et seq. of the FDCPA by attempting to
collect interest, which it is not authorized or permitted by law to charge or collect.

106. Defendants should be disgorged of all money collected from members of the class
during the relevant period as ill-gotten gains.

107. Defendant CKS FINANCIAL is vicariously liable for any violations of the FDCPA

that OLIPHANT FINANCIAL committed as described herein.

Page 15 of 19

Case 2:18-cV-15100-CCC-.]BC Document 1 Filed 10/18/18 Page 16 of 21 Page|D: 16

108. Defendant OLIPHANT FINANCIAL is vicariously liable for any violations of the
FDCPA that CKS FlNANCIAL committed as described herein. See Fox v. Citicorp Credz`t
Servz`ces, Inc., 15 F.3d 1507 (9th Cir. 1994); Polll'ce v. National Tax Funding, L.P., 225 F.3d 379
(3d Cir. 2000).

109. Congress enacted the FDCPA in part to eliminate abusive debt collection practices
by debt collectors.

110. Plaintiff and others similarly situated have a right to be free from abusive debt
collection practices by debt collectors.

lll. Plaintiff and others similarly situated have a right to receive proper notices
mandated by the FDCPA.

112. Plaintiff and others similarly situated were sent letters, which could have affected
their decision-making with regard to the debt.

113. Plaintiff and others similarly situated have suffered harm as a direct result of the
abusive, deceptive and unfair collection practices described herein.

114. Plaintiff has suffered damages and other harm as a direct result of Defendants
actions, conduct, omissions and violations of the FDCPA described herein.

WHEREFORE, Plaintiff demands judgment against Defendants as follows:

(a) Declaring that this action is properly maintainable as a Class Action and
certifying Plaintiff as Class representative and her attorneys as Class Counsel;

(b) Awarding Plaintiff and the Class statutory damages;

(c) Awarding Plaintiff and the Class actual damages, including but not limited
to a disgorgement of all money collected during the relevant period;

(d) Awarding pre-judgment interest;

Page 16 of 19

Case 2:18-cV-15100-CCC-.]BC Document 1 Filed 10/18/18 Page 17 of 21 Page|D: 17

(e) Awarding post-judgment interest.
(f) Awarding Plaintiff costs of this Action, including reasonable attomcys' fees
and expenses; and

(g) Awarding Plaintiff and the Class such other and further relief as the Court
may deem just and proper.

DEMAND FOR TRIAL BY JURY
Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests a

trial by jury on all issues so triable.

Dated: October 18, 2018
Respectfully submitted,

By: /s/ Ben A. Kaplan
Ben A. Kaplan, Esq. (NJ 037712008)
CHULSKY KAPLAN, LLC
280 Prospect Avenue, 6G
Hackensack, New Jersey 07601
Phone (877) 827-3395 ex 102
Cell Phone: (201) 803-6611
Fax: (877) 827-3394
ben(fl)chulskvkaplanlaw.com
Attorneys for Plaintiff

CERTIFICATION PURSUANT TO LOCAL RULE 11.2
l, hereby certify that the matter in controversy is not the subject of any other court,
arbitration or administrative proceeding, except that there is another matter pending in the United
States District Court of New Jersey entitled Hz'ghtower v. Webcollex, LLC et al; 3:18-cv-12457-

FLW-LHG.

Page 17 of 19

Case 2:18-cV-15100-CCC-.]BC Document 1 Filed 10/18/18 Page 18 of 21 Page|D: 18

Dated: October 18, 2018
/s/ Ben A. Kaplan
Ben A. Kaplan, Esq. U\IJ 037712008)
CHULSKY KAPLAN, LLC
280 Prospect Avenue, 6G
Hackensack, New Jersey 07601
Phone (877) 827-3395 ex 102
Cell Phone: (201) 803-6611
Fax: (877) 827-3394
ben@chulskykaplanlaw.com
Attomeys for Plaintiff

Page 18 of 19

Case 2:18-cV-15100-CCC-.]BC Document 1 Filed 10/18/18 Page 19 of 21 Page|D: 19

EXHIBIT A

Page 19 of 19

  
 
 
       

Case 2:18-cV-15100-CCC-.]BC Document 1 Filed 10 Page 20 of 21 Page|D: 20
<i~ ' FINANCIAL
v :<- ..l€~“"€,Si'-:';;»i§:i;.i" a i;€;`é? = P<;YBOX§§;;:;

C?resapeaiw. \/‘A 23327»2856

iii

021063`20 ’i §§

 

\.

Cz'ai;iitor’ mci Amerzca §?>;:zrik and "i“rust ~ Verva
Account 113 1238'
Baiarioe“ 81,00’328

ii;)aar Teresa Conoe;z<:iori.

inter letter serves las ootiiieatson to inform you that Oiiphant Financiai LLC purchased your Mid Ameriea Bani< and Trust ~
"Varve~anr:mni, and twa been grimes with this office - » - v » . t

Uniess you entity this office written 30 days after receiving this notice that you dispute the validity of this debt or any portion
wereof, this office witt assume this debt is valid it you notify this office in writing within 30 days after reserving this notice
mar you dispute the vaiiaity of twa debt this office writ obtain verification of the dam or obtain a copy of a §udgment and
matt you a copy of such judgment or verification if you request of this office in writing within 30 days after receiving this
notice, this office witt provide you with the name and aderess ot the originai creditor, if different wm me current creditor

You may gail our office our office at {838} 273-8454 ii orr would fike to speak with a representative Our office hours are
Mom;iay through ’i‘iiurs<iay imm 800 AM to 8:00 F’Mz riday 8:00 AM to 5:00 ¥’M. Easte'm Standard Time.

please send aii correspondence & payments to; CKS Financtai, 801 Box 2858. Chesapeake, VA 23327-285$

irs easy to manage your accouni and make a payment oniine‘ meaer visit www.cks¥in~com.

Wei>coiie)<¥ tiLC dba CKS §manr;iai ~ 505 independence 'Parkway. Suite 300, Chesapeake VA 23320 - 888-273-8454

This.i:arrzmaninaiiga is from,.,a,d;§;.rztvwiie¢tor. Ttri§~§§@a§¥i§§ti§t§¢ <?§?ti§<?¥ 3 d§bfi,,§§‘id, any 5019*“ tila/1580 °bt$§“@dwi“ be used
fo!mwmp$m _ ,, ,
C~iii§i?§ M?SMZ NMMWMMW@!

PO Box 1110
Southgate, Mi 48195~0110

-~“--' 021061¢201 3

,______,,,_,,,_, tiwidii;ji!;b\‘ri¥lahitis!qsmemwarli\z“hfiiciimfl
““'““'“““ “I‘eresa Concepciori

61 Waiiace St

B€‘il€§\!§li€, N.i 97109“3543

Case 2:18-CV-15100-CCC-.]BC Document 1 Filed 10/18/18 Page 21 of 21 Page|D: 21
CIVIL COVER SHEET

JS 44 (Rev. 07/16)

The .IS 44 civil cover sheet and the information contained herein neither replace nor supplement the t`i|in and service ot` pleadings or other papers as re

provided by local rules of_cr_)urt. This form, approved by the J udicial Conference ot` the United States in eptember 1974, is requlred for the use of the
purpose of lnltlatlng the ClVll docket Sh€et. (.S'I:'I',` INS']'RI/('Tl()NS ()N Nl:'/\"l'l’A(z`/." ()l'l vI`H[S ]"()RM.)

uired by law, except as
lerk ofCourt for the

 

l. CSa) PLAINTIFFS
S

L|S F/K/A/ CONCEPC|ON TERESA

(b) County of Residence ofFlrst Listed Plaintiff BURL|NGTON C___QL_JNTY

(l',`/\’( 'I:‘I’T ]N U.S. ]’I.AIN'I'I/"I" ( `AS];`.S)

(c) AttOmeyS (/"lrm Name, Ad<lre.r.\', /:`mui/ and Tel¢»p/mne Numf>er)

NOTE:

 

DEFENDANTS
WEBCOLLEX, LLC D/B/A CKS F|NANC|AL; OL|PHANT FlNANClAL.

LLC AND JOHN DOES 1-25

County of Resldence of First Listed Defendant #
(IN l /.S. l’IA[NT]/"I" ( 'ASI;`S ()N[. Y)

lN LAND (`ONDEMNATION CASES, USE THE LOCATION OF
THE TRA(`T OF LAND lNVOLVED.

Atf()rn€yS ([/Km)wn)

 

". BASIS OF JURlSDICTlON (l’lace an "X in ()ne Br).\’ ()nl_y)

 

(["r)r [)r`\'er.rity ( `ase.\~ ()n/y)

lll. ClTlZENSHlP OF PRlNClPAL PARTlES ([’luce an ","Y in ()ne B()xfor l’/aml{ff

and ()nc Boxf()r Dcferrc/a)1r)

 

 

 

 

  

 

 

13 l U.S. Govcmment g 3 FederalQuestion PTF DEF PTF DEF
Plaintiff (l/.S. (ir)\'ernmenl Nm a }’arl_}y Citizen of This State 13 l Cl l Incorporated or Pr\'ncipal Place 0 4 D 4
ofBusincss ln This State
13 2 U.S. Govemmem 13 4 Diversity Citizen of Another State Cl 2 Cl 2 Incorporated and Principal Place Cl 5 D 5
Defendant (]m/icate ( 'r`lizenshl[) Q/l’arlic.s' in hem I[[) of Business ln Another State
Citizen or Subjec\ cfa 13 3 1'_'| 3 Foreign Nation C| 6 C| 6
milan Country
IV. NATURE OF SUlT (Place an "X' 'n ())1e Bax()n ) b

    
 

 

110 lnsurance

120 Marine

130 Miller Act

140 Negotiable lnstmmem

150 Recovery of Overpaymem
& Enforcement of Judgmcnt

151 Medicare Act

152 Recovery of`Defaulted
S\'udent Loans
(Excludes Veterans)

153 Recovery ovaerpayment
of Veteran`s Benef`\ts

160 Slockholders` Suits

190 Other Comract

195 Contract Product liability

196 Francl\ise

EIU UUUDC]

DCIDD Cl

      

Cl 210 Land C
13 220 Foreclosure

13 230 Rent Lease & Ejectmem
D 240 Torts to Land

0 245 Tort Product Liability
ij 290 All Other Real Properry

. c gm
ondemnation

 

    

PERS()NAL lN.lURY

D 310 Airplane

13 315 Airplane Product
Liabiliry

13 320 Assault, Libel &
Slander

C| 330 Federal Employers`
Liabiliry

D 340 Marinc

13 345 Man`ne Product
Liability

13 350 Motor Vehicle

ij 355 Moior Vehicle
Product Liability

13 360 Othcr Personal
lnjury

D 362 Persona] Injury -
Medical Mal -raclice

 
 
 

13 440 Other Civil Rights

ij 441 Voting

13 442 Employmem

D 443 Housing/
Accommodations

ij 445 Amcr. w/Disabilities ~
Employmem

13 446 Amer. w/l)isabilities -
Otl\er

|:l 448 Educa!ion

 

 

PERSONAL lNJURY

ij 365 Personal Injury -
Product Liability

13 367 Health Care/
Phannaceu!ical
Personal Injury
Product Liability

Cl 368 Asbestos Personal
lnjury Prr)duct
liability

PERSONAL PROPERTY

|J 370 Other Fraud

Cl 371 Truth in Lending

Cl 380 Other Personal
Property Damage

|J 385 Prcpcny Damage

Product Liability

 
 
     
    

 
 

13 463 Alien Detainee

D 510 Mon`ons to Vacate
Scntence

D 530 General

C] 535 Death Penalty

Other:

Cl 540 Mandumus & Other

Cl 550 Ci\'il nghts

Cl 555 Prison Condition

g 560 Civil Deta\`nee -
Conditions of
Coll('lnemem

   
   

C] 625 Drug Related Seizure

13 690 Orher

    

     

D 710 Fair Labor Standards
Act

Cl 720 Labor/Managemcnt
Relaticns

ij 740 Railway Labor Act

fl 751 Fami|y and Medical
Lcave Act

fl 790 Olher Laer Li!igation

` § D 791 Emp|oyec Retiremen\

lncome Securi\y Act

   

13 462 Na!uralizano
C] 465 Otl\er lmmigration
Actions

 

 

  

ofProperty 21 USC 881

n Anppl\catio

13 422 Appea128 USC 158
ij 423 Wi\hdrawal
28 USC 157

D n Copynghts
Cl 830 Patem
13 840 Trademark

Cl 861 HlA(l395f$

D 862 Black l_,ung (923)

n 863 DlWC/DlWW (405(3))
U 864 SSlD 'I`itle XVI

13 865 RSI (405(g))

   

  
  
 

     
 

    

ax (U.S. Plaintiff
or Defendant)
|J 871 1RS~Thi`rd Party
26 USC 7609

   

  

D 870

 

U§§é`film§i?){iiii`:?i`*im

§§."Z~M

  
   

   
   
   

C|

 

Cll;l UE.`|UU UDH DUUUDCI \;lCl

 
    
    
   

375 False Claims Act

376 Qui Tam (31 USC`
3729(8))

400 State Reapportionmem

410 Antimlst

430 Banks and Banking

450 Commerco

460 Deponation

470 Racketeer lnfluenced and
Corrupt Organizations

480 Consumer Credit

490 Cable/Sat TV

850 Securities/Commodities/
Exchange

890 Other Statutory Actions

891 Agn'cultural Acts

893 Env\'ronmental Matters

895 Freedom of lnforrnation
Act

896 Arbitration

899 Adminisrrative Procedure
Act/Review or Appeal of
Agency Decision

950 Constitutionality of
S!ate Statures

 

V. ORlGlN ([’lace an "X" in ()I1e Hr)x ()nly)

d l Original

Proceed\`ng

VI. CAUSE OF ACTlON

\J 2 Removed from
State Court

\J 3

15 U.S.C. 1692

 

FDCPA violation

Remanded from
Appellate Court

Brief description of cause:

Cl 4 Reinstated or

Reopened

g 5 Transferred from
Another District
r\pm/y)

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unlms diversz'{y):

Litlgatlon
Transfer

Cl 6 Mqltidistrict

13 8 Multidlstrict
Litlgation ~
Direct File

 

VII. REQUESTED lN

18 cHECK IF THls

lS A CLASS ACTION

DEMAND $

CHECK YES only if demanded in complaint

 

 

 

 

COMPLAINT: UNDER RULE 237 F.R.CV.P- JURV DEMAND; d Yes 0 No

vm. RELATED CASE(S) (S
.` ‘ ,‘I lv .‘ .'

IF ANY ge '"` mo '0"`) JUDGE DOCKET NUMBER in
DATE SlGN ATURE OF ATTORNF.Y OF RECORD
10/18/2018 /s/ Ben Kap|an
FOR OFF|CE USE ONLY

RECEIPT # AMOUNT APPLYlNG lFP JUDGE MAG. JUDGE

